    Case 17-28557         Doc 18      Filed 12/02/17 Entered 12/03/17 00:46:58                          Desc Imaged
                                      Certificate of Notice Page 1 of 2
                        UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TENNESSEE
       In re                                                  Case No. 17−28557 dsk
                                                              Chapter 7



                                                              Adversary No.
       William Eugene Henry Jr.

       Debtor(s).

                    NOTICE OF HEARING COMBINED WITH RELATED INFORMATION
                            RE FORM, MANNER AND SERVING OF NOTICE
                              (APPLICABLE TO CHAPTER 7, 11, AND 12)



15 − Expedited Motion to Withdraw as Attorney Filed by Jimmy E. McElroy on behalf of William Eugene Henry Jr.
(McElroy, Jimmy)

 on November 29, 2017.
 NOTICE IS HEREBY GIVEN THAT:

   1. The Hearing to consider the above
shall be held on December 19, 2017 at 09:30 AM in the United States Bankruptcy Court, 200 Jefferson Ave,
Room 945, Memphis, TN 38103 , BUT ONLY IF an objection to such relief requested is filed by December 12,
2017 and served as required pursuant to L.B.R. 9013−1.
    At the time of hearing, it may be continued or adjourned from time to time by oral announcement of the
continued or adjourned date and time, without further written notice.
   2. A copy of this Notice of Hearing has been served by the Bankruptcy Noticing Center to the following
entities:
      All Parties on Servicing List
    Service upon any party other than those who received service by the Bankruptcy Noticing Center as noted
above shall be the responsibility of the moving party within seven (7) days of receipt of this order pursuant to
FED. R. BANKR. P. 2002, 9007, 9013, or 9014, and in the manner provided for service of a summons and
complaint by FED. R. BANKR. P. 7004. The moving party herein (or attorney for moving party) within three
(3) days after service shall file a certificate of service with the Bankruptcy Court Clerk, certifying notice of
this order, motion, application, or Notice of Proposed Intent pursuant to FED. R. BANKR. P. 6004(a) and
6007(a).
    3. If no objection is filed by any creditor or interested party, including the debtor, by the date stated above in
paragraph one, the movant shall promptly file a certificate in compliance with L.B.R. 9013−1 and the proposed order
on such matter with the Bankruptcy Court for entry thereof, and there will not be a hearing conducted on the date
stated in paragraph one above.

                                                                    Kathleen A Ford
                                                                    CLERK OF COURT

                                                                    BY: Tonya Lepone
                                                                    _________________________________________
                                                                      Deputy Clerk
                                                                    DATE: November 30, 2017
                                                                    [combrelcco30]Order/Notice combined Rel 11−03
          Case 17-28557            Doc 18       Filed 12/02/17 Entered 12/03/17 00:46:58                         Desc Imaged
                                                Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Western District of Tennessee
In re:                                                                                                     Case No. 17-28557-dsk
William Eugene Henry, Jr.                                                                                  Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0651-2                  User: tonya                        Page 1 of 1                          Date Rcvd: Nov 30, 2017
                                      Form ID: combrel                   Total Noticed: 16


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 02, 2017.
db             +William Eugene Henry, Jr.,     1990 Jane Drive,    Memphis, TN 38127-5634
32633979       +Aaron’s,    3033 Goodman Rd., # B,    Horn Lake, MS 38637-1105
32633980        Bill Henry,    Rt. 2 Box E10,    Hughes, AR 72348
32633982      #+Consolidated Recovery System,     2650 Thousand Oaks Boulevard,    Suite 4200,
                 Memphis, TN 38118-2451
32633983       +First Premier Bank,    3820 n. Louise Ave.,     Sioux Falls, SD 57107-0145
32633984       +Genesis Capital Ventures, LLC,     555 N. Mill St.,    Aspen, CO 81611-1506
32633985        Laura Hazard/ Renshaw Properties,     158 Oakland Rd.,    Belgrade, ME 04917
32633986        Memphis Light Gas & Water,     P.O. Box 430,    Memphis, TN 38101-0430
32633989       +Navinet,    P.O. Box 9500,    Wilkes Barre, PA 18773-9500
32633990       +Ogden Pool/Daniel Lloyd,    8304 Walnut Grove, Suite 200,     Cordova, TN 38018-6869
32652371       +SANTANDER CONSUMER USA,    P.O. Box 560284,     Dallas, TX 75356-0284
32633992       +Santander,    P.O. Box 961245,    Fort Worth, TX 76161-0244

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
32633981       +E-mail/Text: melonie@reducear.com Dec 01 2017 00:02:15      CB Services,   P.O. Box 4127,
                 Fort Walton Beach, FL 32549-4127
32633988       +E-mail/Text: bkr@cardworks.com Dec 01 2017 00:00:19     Merrick Bank,    P.O. Box 9201,
                 Old Bethpage, NY 11804-9001
32633991        E-mail/Text: bankruptcy@pro-credit.com Dec 01 2017 00:01:20
                 Professional Credit of Jonesboro,   500 Washington,   Jonesboro, AR 72401
32633993        Fax: 912-629-1539 Dec 01 2017 00:26:43     Title Max,   4671 Riverdale Rd.,    Memphis, TN 38141
                                                                                             TOTAL: 4

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
32633987*         Memphis Light Gas & Water,   P.O. Box 430,   Memphis, TN 38101-0430
32633994*       ++TMX FINANCE LLC FORMERLY TITLEMAX,   15 BULL STREET,    SUITE 200,   SAVANNAH GA 31401-2686
                 (address filed with court: Title Max,    4671 Riverdale Rd.,    Memphis, TN 38141)
                                                                                               TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 02, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 30, 2017 at the address(es) listed below:
              Edward L. Montedonico   elmlaw@bellsouth.net, emontedonico@ecf.epiqsystems.com
              Jimmy E. McElroy   on behalf of Debtor William Eugene Henry, Jr. jimmy_3780@hotmail.com
              U.S. Trustee   ustpregion08.me.ecf@usdoj.gov
                                                                                            TOTAL: 3
